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6    United States of America
7
8                        UNITED STATES DISTRICT COURT
9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )        NO. CR. S-04-0366 WBS
                                   )
12             Plaintiff,          )        STIPULATION AND ORDER RE
                                   )        CONTINUANCE OF STATUS HEARING
13        v.                       )        FINDINGS OF EXCLUDABLE TIME;
                                   )        PROPOSED ORDER
14   SHERYL DENISE DAVIS,          )
                                   )        DATE: December 21, 2005
15             Defendant.          )        TIME: 9:00 a.m.
     ______________________________)        COURT: Hon. William B. Shubb
16
          The United States Government, by and through its counsel,
17
     Robin R. Taylor and Matthew C. Stegman, Assistant United States
18
     Attorneys, and defendant Sheryl Denise Davis, by and through her
19
     counsel, C. Emmett Mahle,     hereby agree that the status
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     conference set for December 14, 2005 be continued to December 21,
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     2005 at 9:00 a.m.   This continuance is requested because defense
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     counsel needs additional time to review the proposed plea
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     agreement with the defendant and to continue to review discovery
24
     which will require additional time to review.        The defendant in
25
     this case consents to this continuance.
26
          Defense counsel, along with Ms. Davis agree that the time
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     from December 14, 2005 through December 21, 2005 should be
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              Case 2:04-cr-00366-WBS Document 57 Filed 12/09/05 Page 2 of 2


1    excluded in computing the time within which trial must commence
2    under the Speedy Trial Act. § 3161(h)(8)(B)(iv) and Local Code
3    T4. [reasonable time to prepare].
4    DATED:       12/7/2005              Respectfully submitted,
5                                        McGREGOR W. SCOTT
                                         United States Attorney
6
7                                        /s/ Matthew C. Stegman
                                         ROBIN R. TAYLOR
8                                        MATTHEW C. STEGMAN
                                         Assistant U.S. Attorneys
9
10
     DATED:       12/7/2005              /s/ C. Emmette Mahle
11                                       C. Emmette Mahle, Esq
                                         Attorney for Defendant
12                                       SHERYL DENISE DAVIS
13
14
15
16        IT IS SO ORDERED.
17
18   DATED:    December 9, 2005
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